      Appellate Case: 23-1135      Document: 12        Date Filed: 05/12/2023      Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
                                         1823 Stout Street
                                     Denver, Colorado 80257
                                          (303) 844-3157
                                     Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                              Jane K. Castro
Clerk of Court                                                                  Chief Deputy Clerk
                                        May 12, 2023
Andrew McNulty
Mari Newman
Killmer, Lane & Newman
1543 Champa Street, Suite 400
Denver, CO 80202

RE:        23-1135, Griffith v. El Paso County, Colorado, et al
           Dist/Ag docket: 1:21-CV-00387-CMA-NRN

Dear Counsel:

The district court transmitted notice that the record is complete to the clerk of this court
on May 12, 2023. See 10th Cir. R. 11.1(A) and 31.1(A)(1).

Appellant's brief and appendix must be filed on or before June 21, 2023. Appellee may
file a response brief within 30 days after service of appellant's brief. If a response brief is
filed, Appellant may file a reply brief within 21 days after service of appellee's brief.

Briefs and appendices must satisfy all requirements of the Federal Rules of Appellate
Procedure and Tenth Circuit Rules with respect to form and content. Counsel are
encouraged to utilize the court's Briefing and Appendix checklist when compiling their
briefs and appendices. Motions for extension of time are disfavored and must comply
with 10th Cir. R. 27.1 and 27.6.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court
cc:        Steven Martyn
           Nathan James Whitney
 CMW/sds
